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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


ROTHSCHILD CONNECTED DEVICES )
INNOVATIONS, LLC.            )
                             )
     Plaintiff,              )
                             )                       Case No. 2:15-cv-01498-JRG-RSP
     v.                      )
                             )                       PATENT CASE
AFA PROTECTIVE SYSTEMS, INC. )
                             )
     Defendant.              )
                             )


   NOTICE OF VOLUNTARY DISMISSALWITHOUT PREJUDICE UNDER RULE
        41(a)(1)(A)(i) OF THE FEDERAL RULES OF CIVIL PROCEDURE


       PLEASE TAKE NOTICE THAT Plaintiff Rothschild Connected Devices Innovations,

LLC, pursuant to Rule 4l(a)(l)(A)(i) of the Federal Rules of Civil Procedure, hereby voluntarily

dismisses its Complaint against Defendant AFA Protective Systems, Inc. (“AFA”) in Rothschild

Connected Devices Innovations, LLC v. AFA Protective Systems, Inc., et al (E.D. Tex. Case No.

2:15-cv-01498), without prejudice. In accordance with Rule 41(a)(1)(A)(i), Rothschild states that

this notice has been filed prior to service by AFA, of an answer or motion to dismiss.
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Dated: October 7, 2015                         Respectfully submitted,


                                               /s/ Jay Johnson
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                                   CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
October 7, 2015.

                                               /s/ Jay Johnson
                                               Jay Johnson
